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         NEXGEN MEMANTINE INC
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     MEMANTINE IR
     . This drug treats moderate to sever Alzheimer and
     Dementia.
     . There 2 classes of drugs that treat this disease process
     which are acetylcholinesterase inhibitors and NMDA
     antagonist. Memantine is the Only drug in the NMDA
     category.
     . 2014 Memantine sales according to IMS was $835
     million US dollars.
     . On a conservative basis Nexgen will have 3% market
     share of pie. This amounts to $25 million dollars per
     annum.
     . 3% market based on current wholesale distributors who
     are already buying drugs( brominidine tartrate,
     gabapentin, hydrochlorothiazide, irbesartan etc) from us.
     .Unlike the previously mentioned drugs, Memantine will
     be owned by us and our investing group.
     . The incorporation with ties to TRXADE, has 128 trade
     accounts open, so the 3% is our bottom line number.
     . This 128 open accounts translates into 60,000+ chain
     stores and 27,000 independent pharmacies, plus 1,500
     regional and local suppliers.
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     INVESTORS
     . Your entrance into our partnership is as Preferred Stock
     holder.

     . As a Preferred stock holder you will be getting 12%
     dividend rate on your investment plus over 8% net profit
     sharing on every $1million invested.

     . The dilution of our shares is set at maximum of $2
     million.

     . Based on our wholesale distributors who are already
     buying from us, we have already reached well beyond $ 2
     million dollars in goods they will be purchasing.

     . This exciting information allows us to maximize our
     dilution t $2 million.

     . You will be given a 1099 on based on your investment
     for dividend announced.

     . To further protect your money the corporation will also
     provide a corporate guarantee.
